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                  EXHIBIT 8
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October 27, 2020


VIA ELECTRONIC MAIL

Robert F. Lopez
Hagens Berman Sobol Shapiro LLP
1301 2nd Ave. #2000
Seattle, WA 98101

Rachele Byrd
Wolf Haldenstein Adler Freeman & Herz LLP
750 B St., Ste. 1820
San Diego, CA 92101

Re:     In re Apple iPhone Antitrust Litigation, No. 4:11-cv-06714-YGR; Cameron v. Apple
        Inc., No. 4:19-cv-03074-YGR

Dear Rob and Rachele:

I am writing in response to your October 22, 2020 letter. While the purpose of your letter is
ostensibly to propose deposition dates for three witnesses, you misstate the history and
current status of discovery, and misread the Coordination Order that has already been
entered, in these cases. See N.D. Cal. Guidelines for Professional Conduct, 8.a. (“A lawyer
should not draft letters (i) assigning a position to an opposing party that the opposing party
has not taken, or (ii) to create a ‘record’ of events that have not occurred.”).

A. Apple Has Satisfied Its Discovery Obligations And Continues To Do So

        1. Apple extensively and responsively engaged with Plaintiffs, producing
           millions of documents by July 31, 2020

Plaintiffs claim that, in responding to discovery, Apple has “essentially” said “that it will
fulfill its obligations in manners of its choosing, and that plaintiffs have very little to say
about it.” Nothing could be further from the truth. As you are well aware, and as the record
amply demonstrates, Apple has (i) consistently informed Plaintiffs what it intends to do; (ii)
negotiated extensively with Plaintiffs about those plans; (iii) made changes to its production
plans at Plaintiffs’ request; (iv) investigated Plaintiffs’ questions and provided answers and
further documents in response; and (v) produced huge data samples to Plaintiffs to facilitate
negotiations and more efficient productions. Where the parties reached agreement regarding
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how to proceed, Apple produced documents accordingly, expending enormous resources to
do so. Where the parties have not agreed and Plaintiffs have gone silent, Apple has produced
millions of documents in accordance with its last-discussed position (e.g., relying on the
most recent version of the ESI protocol to determine which metadata fields to include). In
light of the over 200 printed pages of meet and confer correspondence between the parties,
for you to now claim that “plaintiffs have had very little to say about” Apple’s discovery
efforts is, frankly, disingenuous; and in light of all of these facts, your assertion that Apple
has conducted discovery “in manners of its choosing” has no basis in the record.

Briefly recapping the relevant history: Consumer Plaintiffs propounded 30 Requests for
Production on October 10, 2019. Developer Plaintiffs followed shortly thereafter,
propounding 89 Requests for Production on October 17, 2019. 1 Apple served responses on
November 12, 2019 and November 18, 2019, respectively. On December 20, 2019, Apple
proposed 14 custodians.

The parties began negotiating a draft ESI protocol in October 2019. After many rounds of
redlines, Apple sent Plaintiffs the most recent version on February 19, 2020. The parties
then exchanged three emails regarding specific points in the protocol, but Plaintiffs never
responded with their own redlines to the draft. As such, Apple relied on the February 19
version of the ESI protocol to begin custodial document productions on February 27. 2 Over
the course of the next five months, Apple produced 63 volumes, reaching substantial
completion on July 31, 2020. 3 The total number of documents produced as of that date is
3,585,471, which amounts to 7,181,345 pages. Apple has since made several clean-up
productions and intends to make a few more; however, these amount to a fraction of the
overall total documents produced and have no impact on whether Apple met the substantial
completion deadline. See Section B.3.

Throughout this process, Apple has engaged with Plaintiffs on many issues. These efforts
can be summarized as follows:

         •   Custodians: On February 21, 2020, and at Plaintiffs’ request, Apple agreed to
             add its fifteenth custodian, Matt Fischer. On February 25, 2020, Plaintiffs

 1
     Consumer Plaintiffs propounded an additional 23 Requests for Production on September 1, 2020, which
     Apple responded to on October 1, 2020.
 2
     Apple previously made one production on January 14, 2020, consisting of 232 media files and non-
     custodial documents.
 3
     See Exhibit A: Apple’s Document Production Volume Table. Apple has produced a privilege log 45
     days after each of these custodial productions.
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              requested the addition of nine others, including Tim Cook, Steve Jobs, and
              Apple’s CFO Luca Maestri. Ten days later, Apple responded and explained why
              the addition of these individuals as custodians would be inappropriate. On
              September 14, 2020—over six months later and a month and a half after Apple
              reached substantial completion of its document productions—Plaintiffs again
              raised the issue of additional custodians and indicated that they may seek to add
              more. Apple remains willing to meet-and-confer with Plaintiffs on the subject of
              additional custodians, but only if the class plaintiffs coordinate with Epic; any
              delay in this respect is attributable entirely to Plaintiffs.

         •    Cost Documents: On July 9, 2020, Plaintiffs sent a letter alerting Apple that
              some of the documents Apple had produced contained links to what appeared to
              be budget and cost documents that had not been produced as attachments. Apple
              told Plaintiffs that it was investigating these questions, which involved
              complicated technical issues. Plaintiffs sent several emails with more detailed
              questions throughout August, to which Apple provided answers on September 10,
              2020. Apple continued to share information with Plaintiffs as its investigation
              progressed, looking into particular questions Plaintiffs raised. See E. Lazarus
              emails dated September 18 and September 22 and letters dated October 9 and
              October 25. As a result of this investigation, Apple produced additional cost-
              related documents on September 20, 2020 and October 9, 2020. 4 The parties
              continue to meet and confer regarding this narrow subset of documents—indeed,
              Apple responded to Plaintiffs’ October 20 letter on this subject on October 25,
              and will respond to Plaintiffs’ October 23 letter regarding questions about “cost
              databases.” Apple aims to conclude its investigation into these issues by
              November. See E. Lazarus email dated October 22. 5


 4
     Meanwhile, on August 14, 2020, Apple wrote to Plaintiffs stating that its “review of Developer Plaintiffs’
     productions has identified certain documents that contain embedded links to documents that were not
     included in the productions and appear directly relevant to the litigation” and listed those documents by
     Bates number. E. Lazarus email dated August 14, 2020. Developer Plaintiffs responded, “We are
     investigating these documents now and are working to respond in more detail as soon as possible.” T.
     Wojcik email dated August 18, 2020. But Plaintiffs have never responded in more detail or produced the
     linked documents that Apple identified.
 5
     Plaintiffs take issue with Apple’s proposed target of November without specifying what prejudice such a
     completion date would impose. As has been conveyed over and over throughout the parties’ discussions
     and correspondence on the cost documents, the issue is complicated and has taken time and effort to
     investigate. Apple is thoroughly investigating the many questions Plaintiffs have raised and continue to
     raise.
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       •   Documents Produced to Governments: Among the documents Plaintiffs sought
           were all documents produced by Apple to governmental bodies, including the
           House Judiciary Committee (“HJC”). In responding to Plaintiffs’ document
           requests on November 12, 2019, Apple agreed to and did produce all relevant
           documents that it had produced to the HJC, as Plaintiffs are not entitled to
           documents that have no relevance to this litigation, including those related to
           foreign transactions or foreign governments’ investigations relating to those
           foreign transactions. Apple informed Plaintiffs on June 11, 2020 of the categories
           of documents requested by HJC that Apple considers relevant to the claims and
           defenses in this litigation. See E. Lazarus email dated June 11, 2020. Plaintiffs
           let this issue lie until more than four months later, when they sent Apple a letter
           over the weekend on October 24. Apple will promptly respond, but once again
           the delay here is entirely attributable to Plaintiffs.

       2. Apple stands ready to produce its transactional data

From the outset, Apple’s production of requested transactional data has been the subject of
extensive negotiations between the parties. This was necessary given the enormous scope of
the project, both as to the volume of data and the amount of work required to collect and
produce it in a useable format. Indeed, Apple made clear from the beginning that Plaintiffs
were requesting a vast amount of data; the final production is likely to be in the range of
approximately 65 billion rows of data. The parties began these discussions in February 2020
with an eye toward determining what data fields were relevant to the analysis needed for this
case, what those data fields mean, and how those data fields were best produced.

The parties conducted months of extensive back-and-forth in writing and over the phone. To
facilitate further discussions and make the ultimate production of massive amounts of data as
efficient and usable as possible, on July 23, 2020, Apple produced a sample of 100,000 rows
of transactional data, including 28 different data fields in each row. At Plaintiffs’ request,
Apple investigated Plaintiffs’ questions and provided a document created especially for
Plaintiffs that explained the meaning of values in certain data fields (rather than insisting that
Plaintiffs ask these questions at deposition, as would ordinarily be required).

On August 7, 2020, Plaintiffs asked Apple for a larger second sample of 100 million records
in a different production format (“relational tables” as opposed to “flat tables”). Though
producing data in relational tables required significant engineering work to assemble the
tables, conduct quality control, and otherwise prepare the data for production in this format,
Apple agreed to produce this sample in relational tables, and did so on September 6, 2020.
Over three weeks later, Plaintiffs sent Apple a 12-page letter with questions on the second
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sample, many of which Apple had already answered in prior correspondence. Further,
Plaintiffs’ letter raised over a dozen brand-new requests for additional data that was not
previously sought by their Requests for Production, propounded nearly one year earlier.

Apple’s October 12, 2020 and October 23, 2020 responses to Plaintiffs’ letter made this
clear: Apple has answered all of Plaintiffs’ questions and is ready to produce the full data set
of 65 billion records. It is up to Plaintiffs to pull the trigger, recognizing that this production
will be made only once given the size and engineering resources required to do so.

B. Plaintiffs’ Discovery “Concerns” Have No Merit

Plaintiffs raise various purported “concerns” about Apple’s discovery efforts. None of these
“concerns” withstand any degree of scrutiny.

       1.   Validation under TAR 2.0 occurs upon completion of document review

Plaintiffs claim they now “question the comprehensiveness of Apple’s responses to
plaintiffs’ discovery requests” on the grounds that Apple has not yet conducted validation
under TAR 2.0. But an ongoing validation is not contemplated by the parties’ negotiated ESI
protocol, which provides that validation will take place when Apple’s document review is
complete. See February 19, 2020 [Draft] ESI Protocol at Section B (“Once a recall rate of
75% is achieved and confirmed by an SME the review will cease.”).

Plaintiffs appear to conflate validation with quality control. As we have previously
explained, while Apple has been conducting various robust quality control processes
throughout the course of the review and production, validation is a distinct exercise that does
not commence until the review is complete. While Apple complied with the parties’
stipulated July 31, 2020 substantial completion deadline, it continues to wrap-up discrete
quality control and review and expeditiously make those related productions. See Section
B.3. As such, it is not yet time for validation, and Plaintiffs have no grounds to question
Apple’s discovery responses on this (or any other) issue.

       2. Apple’s document productions adequately respond to Plaintiffs’ requests

Plaintiffs next allege that they have “evidence” that “Apple’s productions in response to
plaintiffs’ requests have not been adequate under the standards of the civil rules,” though
they do not specify what that evidence is. As detailed above, Apple has responded to
Plaintiffs’ “copiously detailed letters and emails” with equally detailed correspondence and
lengthy telephone discussions. Whenever Plaintiffs have raised a concern, Apple has
responded with an explanation as to why it believed its production was appropriate and often
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agreed to investigate further, provide more information, or produce documents in different
ways. Thus, Plaintiffs’ vague and unsupported accusations about the adequacy of Apple’s
document productions have no basis in the record, and certainly never have been conveyed to
Apple.

For example, when Plaintiffs took issue with Apple’s production of slip sheets in place of a
certain group of documents, Apple undertook extensive efforts to resolve the issue and
re-produced approximately 5,000 documents to alleviate Plaintiffs’ concerns. Further, and as
noted above, Apple responded to Plaintiffs’ requests for documents produced to governments
by producing all relevant documents that Apple produced to the HJC. At Plaintiffs’ request,
Apple informed Plaintiffs on June 11, 2020 of the categories of documents requested by HJC
that Apple considers relevant to the claims and defenses in this litigation. 6 See E. Lazarus
email dated June 11, 2020.

The single issue specifically identified in your October 22 letter is the parties’ ongoing
discussion regarding cost-related data and documents. See E. Lazarus Letter dated October
25 (responding to Plaintiffs’ October 20 Letter regarding purported deficiencies in Apple’s
production of cost documents that details information learned through Apple’s investigation
and additional documents produced as a result of same). The reason for this is plain—no
other disputes exist. 7 Apple expects that the parties can work through this issue, as they have
all the others, without involving the Magistrate Judge. And your letter does not identify any
other issue that even remotely warrants motion practice.

         3. Apple met the July 31, 2020 substantial completion deadline

Your letter is rife with accusations of delay, and claims that “Apple has undeniably breached
the agreed and ordered July 31, 2020 substantial completion deadline for production”
resulting in prejudice to Plaintiffs. Plaintiffs are wrong. As a threshold matter, Plaintiffs’
characterization of the substantial completion deadline as an “order” is not accurate; rather,
Apple represented that it expected to reach substantial completion by July 31, 2020, in a

 6
     As also noted above, Plaintiffs dropped this issue for over four months until they sent Apple a letter on
     Saturday, October 24 seeking to revive it.
 7
     As discussed in Section A.2., the parties continue to negotiate Apple’s production of transactional data,
     which is a separate, time- and labor- intensive process that has been the subject of extensive negotiation
     from the start. To the extent Plaintiffs claim there is still a dispute regarding Apple’s documents produced
     to governments, Plaintiffs’ failure to pursue this issue for over four months only to revive it this weekend
     does not make it “live.” On May 7, 2020, Apple began producing relevant documents that it had produced
     to HJC, and Plaintiffs said nothing. Their decision to revisit this issue at the eleventh hour is merely a
     tactic to create production “deficiencies” that do not exist.
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“whereas” clause of the parties’ May 27, 2020 stipulation regarding an extension of the
litigation schedule. The fact that Apple stated this goal—which it has met—in a stipulation
entered by the Court, does not turn that goal into a Court-ordered deadline. Consumer ECF
Nos. 208, 209; Developers ECF Nos. 92, 93.

And Apple did substantially complete its production by July 31, 2020. By that date, Apple
produced 3,585,471 documents, consisting of 7,181,345 pages. The details regarding the
dates and volume of the productions amounting to these totals is summarized in the chart
attached. See Exhibit A. And—while Apple continues to wrap up quality control review to
produce remaining responsive documents—these “clean-up” productions amount to only a
small percentage of the total volume of Apple’s document productions in this case. Since
July 31, Apple has produced only 107,785 documents, 8 a mere 3% of its total productions.
These contained, in part, documents produced in response to Plaintiffs’ own later-stated
concerns. Indeed, Apple re-produced approximately 5,000 documents containing source
code in response to Plaintiffs’ questions, so these documents were not actually “new.”
Additionally, Apple produced numerous documents in connection with its ongoing
investigation regarding cost and expense documents, which the parties did not begin meeting
and conferring about until September. See E. Lazarus letter dated October 25. Thus, to the
extent Plaintiffs have received so-called “critical material” since July, it has been the result
of Apple’s diligence in responding to Plaintiffs’ own inquiries and Apple’s prioritization of
responding to Plaintiffs’ many demands, over the clean-up review and quality control work
that would lead to actual completion of its productions.

         4. Plaintiffs—not Apple—have held up production of transactional data

As Plaintiffs are well aware, based on the parties’ many in-depth discussions, Apple’s
production of 65 billion rows of requested transactional data is a complicated, expensive, and
time-intensive endeavor. Apple already provided Plaintiffs two samples of such data—one
of 100,000 rows and then one of 100 million rows—at Plaintiffs’ request and in order to
make the ultimate production more efficient and useful. The many data fields and various
manners in which this data can be compiled and presented necessarily have involved
extensive negotiations concerning what data would be included and exactly how it would be
produced. This has required a tremendous amount of work within Apple by inside and
outside counsel, working in concert with Apple engineering and other teams to gather and

 8
     As Apple has repeatedly explained to Plaintiffs, its September 20 production of 73,818 documents had a
     higher page count due to the HTML formatting in roughly 23,000 documents containing relatively small
     amounts of responsive information, which accounts for some 1.5 million pages of the 1,751,859 total pages
     in the production.
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process this data for production, and respond to Plaintiffs’ many questions and demands. In
short, the production of transactional data is as far as can be from just “pushing a button.”

In response to the sample data sets of 100,000 records and 100 million records (on July 23,
2020 and September 6, 2020, respectively), Plaintiffs sent lengthy correspondence weeks
later, re-asking questions already answered, re-hashing issues already discussed, and making
entirely new requests for additional data that Plaintiffs could have asked for months earlier.
See Section A.2. In light of this history, Plaintiffs cannot blame Apple for delays in
producing this information.

In any event, Apple responded to Plaintiffs’ September 29 letter on October 12 and October
23, stating that it has now answered all of Plaintiffs’ questions and is ready to produce 65
billion records. Apple is awaiting Plaintiffs’ response.

C. Plaintiffs Fail To Demonstrate Any Prejudice Under The Court-Ordered Schedule

Plaintiffs’ implication that Apple’s “pace of productions” has resulted in delays impacting
Plaintiffs’ ability to meet the February 3, 2021 deadline for the filing of class certification
motions is false. As already explained, Apple met the agreed-upon substantial completion
target of July 31, 2020, and the facts do not support Plaintiffs’ manufactured alternative
story. 9 To the extent Plaintiffs have not begun taking depositions, this is Plaintiffs’ own
choice. Despite having nearly 3.6 million Apple documents for almost three months—and




 9
     Plaintiffs state that some of the “delays” they identify “may be due in part to COVID” and claim that they
     have “had the pandemic in mind as [they] weighed at various turns whether to give Apple more time to
     respond to various communications, to schedule calls, or produce responsive materials.” Apple shares
     Plaintiffs’ concerns, and has been accommodating to Plaintiffs in this regard, including agreeing to the
     delay in the class certification briefing schedule that led to the current deadline. And Plaintiffs have hardly
     given Apple reasonable deadlines in which to respond to their numerous demands. See, e.g., T. Wojcik and
     R. Byrd letter dated September 29, 2020 (a twelve-page letter of detailed questions on transactional data
     stating, “We ask that Apple respond no later than … one week from today.”); T. Wojcik email dated
     September 10, 2020 (“Below, we describe the issues for resolution and Plaintiffs’ proposed briefing
     schedule for a motion to compel. We ask for Apple’s agreement or any proposed modification by
     tomorrow at noon.”); T. Wojcik email dated August 18, 2020 (demanding that Apple provide a sample of
     100 million records of transactional data one week later); T. Wojcik email dated August 10, 2020 (“we ask
     that you respond to the questions in Sections I and II by tomorrow, if possible.”).
                                                                                        (Cont’d on next page)
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many of those documents for months longer—Plaintiffs have not taken a single deposition. 10
The blame for this lies with Plaintiffs. 11

Thus, Plaintiffs’ assertion that they have been prejudiced by Apple’s “delayed” document
productions and “squeezed” for time in preparing for depositions holds no weight. Not only
have Apple’s post-July 31 productions amounted to a small percentage of the total number of
documents produced to date, but many of the documents being produced are a result of
Plaintiffs’ own requests (e.g., Apple’s re-production of documents containing source code,
and additional productions of cost-related documents). Plaintiffs appear to take the position
that all document discovery must be completed before they can begin taking depositions;
however, that is neither standard practice, nor is it the law. See Eclipse Grp. LLP v. Target
Corp., No. 15CV1411-JLS (BLM), 2017 WL 2231316, at *13 (S.D. Cal. May 19, 2017)
(rejecting argument that movant was unable to timely notice depositions because defendants
had not completed their document production).

Instead, Plaintiffs must show that they will be prejudiced in some tangible way by not having
certain documents prior to taking a particular deposition. While Plaintiffs say that they
“reserve the right to seek to take further testimony from deposed witnesses, should later
productions give rise to needs for further testimony” they have to show a specific reason why
a later production would warrant re-deposing a witness, a bar they have not even tried to
meet. See Love v. Permanente Med. Grp., C–12–05679 WHO (DMR), 2014 WL 491257, at
*2 (N.D. Cal. Feb. 4, 2014) (party seeking to reopen deposition must obtain leave of court
and show good reason); Williams v. Fire Sprinkler Assocs. Inc., No. 15 Civ. 3147, 2017 WL
1156012, at *2 (E.D.N.Y. Mar. 27, 2017) (similar); Exmark Mfg. Co., Inc. v. Briggs &
Stratton Power Prods. Grp., LLC, No. 8:10CV187, 2015 WL 1004359, at *2 (D. Neb. Mar.
5, 2015) (similar).


10
     Apple, on the other hand, has already taken two depositions in this matter, even though its deadline for a
     class certification opposition is not due until after Plaintiffs’ moving brief.
11
     Plaintiffs are similarly to blame for any delay in Apple’s production of transactional data, which Apple
     stands ready to produce. See Section B.4. But Plaintiffs say that this data is necessary for “calculations
     Plaintiffs’ experts make using this data.” See T. Wojcik and R. Byrd letter dated September 29, 2020
     (“Information about which transactions were included or excluded is relevant to whether calculations
     Plaintiffs’ experts make using this data are based on a complete and/or ‘representative’ sample.”).
     Accordingly, the timing of this production should have no effect on Plaintiffs’ depositions of fact
     witnesses. And indeed, it is hard to imagine how a fact witness could possibly be deposed on a 65 billion
     record database. Nor do Plaintiffs establish how the production of transactional data will prejudice them
     under the current class certification deadline more than three months from now, should they respond to
     Apple’s most recent correspondence and approve the production of this data.
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Most critically, Plaintiffs provide no explanation as to how these depositions are relevant to
their class certification motion. The discovery cutoff date in the class cases is not until
sometime in Q3 2021, at the earliest. Absent a showing from Plaintiffs that they are
prejudiced as to class certification, a delay in the current schedule is not warranted. The
Court recognized this point during the October 19 Case Management Conference (“CMC”),
noting that discovery for the purposes of class certification is “not the be all and end all.”
October 19, 2020 CMC Tr. at 32:2-3. Plaintiffs’ neglect in pursuing class certification
depositions until now is wholly of their own making.

Nevertheless, Apple has worked with Plaintiffs to be responsive to their discovery needs. In
addition to undertaking a diligent investigation on the cost documents issue, Apple has
explained that, to the extent documents remain to be produced, it will prioritize productions
for certain custodians that Plaintiffs have identified for depositions in the coming months and
is already re-prioritizing its review and production to do so. 12

Apple continues to cooperate in an effort to get discovery done as quickly and effectively as
possible. These efforts are borne out by the facts—millions of documents and pages
produced in a relatively short amount of time, and extensive and complicated negotiations
completed (or nearly completed) over the production of 65 billion rows of transactional data,
without a single discovery dispute brought before the Magistrate Judge.

Apple’s willingness to abide by the schedule previously entered by the Court—including a
previous extension requested by Plaintiffs—can hardly be characterized as “gamesmanship.”
Rather, Apple’s commitment to the current schedule is based on fundamental fairness—not
requiring Apple’s experts to complete their work of opposing class certification while they
are working on trial in the Epic matter. See October 19, 2020 CMC Tr. at 31:4-9 (“MR.
PERRY: We do oppose the extension because what the class plaintiffs are proposing would
put class certification motions right before trial, essentially making the experts who would be
appearing at the Epic trial have to oppose a class certification motion simultaneously and
basically throwing havoc into the schedule that is already there.”).


12
     Apple intends to produce more documents in the coming weeks and has already begun prioritizing the
     remaining custodial productions from Matt Fischer, Ron Okamoto, and Phillip Shoemaker, the three
     individuals whom Plaintiffs have sought to depose first. This is in line with Apple’s representation that it
     “will also prioritize the production of documents for particular witnesses as feasible, and to the extent
     plaintiffs give sufficient notice of their depositions.” J. Srinavasan letter dated October 22, 2020. Rather
     than welcome this effort to cooperate and make discovery more efficient, Plaintiffs characterize this offer
     as “underscor[ing] the points we are making regarding delay and its unfortunate consequences” without
     specifying what “delay” they are referring to or its “consequences.”
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More importantly, the Court made clear to Plaintiffs during the CMC on October 19, 2020
that it would prefer to have the class certification motion fully briefed before the Epic trial
commences:

         “THE COURT: So, Mr. Lopez, I can tell you that when I put the [Epic]
         schedule in place I had [the class] schedule in mind, and I thought it would
         behoove the Court to have all of [the class certification] briefing in [by the
         current deadline]. . . . I anticipated it being done so that when I went into trial
         [in Epic] on this particular piece, I would have the full scope for class
         certifications in mind . . . .”

October 19, 2020 CMC Tr. at 31:14-32:1. Indeed, when Apple and Epic presented their
proposed schedules to the Court, the class plaintiffs didn’t say anything about getting
“jammed” or request an extension or other relief. It is thus hardly surprising that the Court
structured the Epic schedule around the extant class schedule; and it is unfair to both the
Court and Apple for the class plaintiffs now to seek to upend this carefully synchronized set
of events.

D. The Coordination Order Governs Discovery As To Both Plaintiffs And Epic

Turning at last to depositions, Plaintiffs contend that, under paragraph 3 of the Coordination
Order in this case, “consumers and developers are entitled to 10 hours to conduct jointly-
noticed depositions—without factoring in the time that Epic will need to depose those same
deponents when it is ready to do so.” T. Wojcik letter dated October 22, 2020 at 3. But this
is not what the Coordination Order says. Instead, it says that, as a default, “[w]itnesses
should only be deposed once” and “[a]ll parties in the Related App Store Actions who wish
to question a witness should participate in a single deposition.” Consumer ECF No. 194 and
Developers ECF No. 80 at ¶ 3 (emphasis added). Paragraph 7 removes any doubt that “all
parties” means exactly that: “Any cases that are subsequently related to the Related App
Store Actions are to be bound by these protocols governing the coordination of discovery, as
well as the stipulations regarding ESI and expert discovery.” Id. at ¶ 7. Thus, Epic became
subject to the deposition limitations set out in paragraph 3 of the Coordination Order when
the Epic litigation was related to the App Store Actions (and notably, Plaintiffs did not
oppose that relation). Plaintiffs cannot now complain about an Order already entered in the
related cases. 13


13
     This was explicitly discussed and decided during the October 7, 2019 CMC:
                                                                                 (Cont’d on next page)
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While Plaintiffs contend that this reading of the Coordination Order is “unreasonable” and at
odds with the Court’s statements at the October 19, 2020 CMC, the opposite is true. Indeed,
when Apple stated that the Coordination Order applies during the October 19, 2020 CMC,
none of the Plaintiffs objected. Nor could they. Indeed, Developer Plaintiffs’ counsel
indicated his agreement that this is the case.

        MS. RICHMAN: To Mr. Siegel’s concern about staying in the loop on the Epic
        discussions, that’s provided for in the coordination order. There is a specific
        provision of that that deals with, you know, coordination of discovery among
        the related cases of which Epic is now one.

        *****

        MR. LOPEZ: But as the Court observed, yes, of course, there are certain
        instances where the consumers have said we’ll stand down for now, but really
        because we have been so embroiled, all the parties, in discovery, there are very
        many open issues, I’d say, and I think Epic is probably going to want to get
        involved in the resolution of those. As Ms. Richman has said, she believes that’s
        indicated by the coordination order, and you know, I think that’s probably what
        will have to happen, is we try to resolve some of these issues to the extent that
        they overlap with Epic’s claims.

October 19, 2020 CMC Tr. at 24:5-24:18 and 25:18-26:2 (emphasis added).

And, while the Court directed the parties to meet and confer on whether certain witnesses
should be deposed more than once, the Court never stated—as your letter seems to suggest—

        “MR. BERMAN: The issue with paragraph 3 is the following: Although we are willing to coordinate,
        these are two separate cases. Under the federal rules, we would get seven hours for deposition, these
        guys would get seven hours for deposition.
        THE COURT: Correct.
        MR. BERMAN: Apple wants to say one dep, seven hours both cases, and we’re not ready to live with
        that yet.
        THE COURT: All right. Ten.
        MR. BERMAN: Ten?
        THE COURT: Ten.
        MR. BERMAN: Fine. Done.”
October 7, 2019 CMC Tr. at 10:5-16. See Consumer ECF No. 194 and Developers ECF No. 80 at ¶ 3.
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that the other provisions of the Coordination Order no longer apply, that plaintiffs are no
longer bound by the 10-hour deposition limit set forth in the Coordination Order, or that class
plaintiffs can unilaterally decree that they will use all 10 hours without the agreement of Epic
or Apple. Quite the contrary, the Court was explicit that the “aggressive schedule” in this
case requires all of the parties to “work not only cooperatively, but . . . efficiently.” Id. at
5:19-23 (emphasis added). Apple expressly commented at the same hearing that “there is a
coordination order that we believe governs the Epic case, and it has already been entered by
Your Honor, which requires the exact sort of efficiency that you have described.” Id. at
22:5-8. Neither the class plaintiffs nor Epic objected to this statement when we were all
before the Court. In short, Plaintiffs agreed to the Coordination Order in October 2019, and
agreed to it again a year later in October 2020. To the extent Plaintiffs seek to challenge its
applicability now, they must take that up with the Court.

Consistent with the Court’s direction, Apple attempted to work cooperatively with plaintiffs
and offer a compromise. Apple told Plaintiffs and Epic that it would agree to the
re-deposition of up to 5 witnesses and offered to discuss extending the 10-hour limitation as
to particular witnesses during an October 21, 2020 meet and confer with Plaintiffs. J.
Srinivasan letter dated October 22, 2020. Not only did Plaintiffs reject this compromise, but
they had no counterproposal of their own, other than that Apple agree to push back the class
certification briefing schedule—a proposal that Apple had already rejected. See id.; E.
Dettmer email dated October 16, 2020.

Again, Apple takes the Court’s mandate to coordinate seriously and is more than willing to
continue conferring with Plaintiffs. To the extent Plaintiffs’ position is that modifications to
the Coordination Order are necessary for any specific witnesses now that Epic is a party to
the related actions, Apple will consider any joint proposal by Plaintiffs and Epic as to how a
given deposition should proceed that is presented to Apple sufficiently in advance of the
deposition. Consumer ECF No. 194 and Developers ECF No. 80 at ¶¶ 3, 7. In the absence
of an agreement by Epic and Plaintiffs, which Apple also assents to, or an order from the
Court before the witness is first sworn for deposition, the Coordination Order dictating one
day of deposition for 10 hours governs. Apple has expressed no view as to how Plaintiffs
and Epic should split their time and, indeed, has none. It is up to Plaintiffs and Epic to
determine how they will use the 10 hours among themselves or approach Apple with an
alternate proposal should they decide that is necessary. 14 This is the process contemplated by

14
     Apple notes that, by the late-November deposition dates proposed by Plaintiffs, Epic will have already had
     access to the Cameron production for more than six weeks, with only four weeks remaining for document
     discovery in Epic. Although six weeks is ample time to prepare for a deposition, Apple remains ready to
     make the Apple witnesses requested by Plaintiffs (up to five total) available for re-deposition by Epic. But
                                                                                       (Cont’d on next page)
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the Coordination Order agreed-to by Plaintiffs and entered by the Court as an order. They
are required to follow it.

E. Plaintiffs’ Requested Depositions

We are looking into available dates for the depositions of Matt Fischer and Ron Okamoto,
and will be in touch very shortly regarding scheduling these depositions. Should Plaintiffs
proceed with a given deposition without Epic’s participation if no compromise is reached,
they may only do so after obtaining Epic’s affirmative consent that Epic will not seek to re-
depose the witness. If Plaintiffs wish to depose Phillip Shoemaker, they will need to serve
him with a subpoena.


Sincerely,



Ethan Dettmer

EDD/eml


104188227.10




    again, coordinating on which witnesses will need to be re-deposed and how to allocate examination time
    (before any deposition goes forward) is the responsibility of Plaintiffs and Epic, not Apple.
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                          Exhibit A: Apple’s Document Production Volume Table


  Date                                                                                  Doc      Page
Produced         Volume                           ProdRange                            Count     Count
 1/14/2020   APL-APPSTR_001      APL-APPSTORE_00000001 - APL-APPSTORE_00029682             232    29,682
 2/28/2020   APL-APPSTR_002      APL-APPSTORE_00029683 - APL-APPSTORE_00062930          13,616    33,248
  4/3/2020   APL-APPSTR_003      APL-APPSTORE_00062931 - APL-APPSTORE_00218307          31,455   155,377
  5/7/2020   APL-APPSTR_004      APL-APPSTORE_00218308 - APL-APPSTORE_00351115          50,164   132,808
  6/2/2020   APL-APPSTR_005      APL-APPSTORE_00351116 - APL-APPSTORE_00433111          44,668    81,996
  6/2/2020   APL-APPSTR_006      APL-APPSTORE_00433112 - APL-APPSTORE_00493873          28,317    60,762
  6/2/2020   APL-APPSTR_007      APL-APPSTORE_00493874 - APL-APPSTORE_00562637          68,764    68,764
  6/2/2020   APL-APPSTR_008      APL-APPSTORE_00562638 - APL-APPSTORE_00632373          69,736    69,736
  6/2/2020   APL-APPSTR_009      APL-APPSTORE_00632374 - APL-APPSTORE_00701665          69,292    69,292
  6/2/2020   APL-APPSTR_010      APL-APPSTORE_00701666 - APL-APPSTORE_00771993          70,328    70,328
 6/17/2020   APL-APPSTR_011      APL-APPSTORE_00771994 - APL-APPSTORE_00841950          69,957    69,957
 6/17/2020   APL-APPSTR_012      APL-APPSTORE_00841951 - APL-APPSTORE_00916249          74,299    74,299
 6/17/2020   APL-APPSTR_013      APL-APPSTORE_00916250 - APL-APPSTORE_00987055          70,806    70,806
 6/17/2020   APL-APPSTR_014      APL-APPSTORE_00987056 - APL-APPSTORE_01045377          58,322    58,322
 6/17/2020   APL-APPSTR_015      APL-APPSTORE_01045378 - APL-APPSTORE_01087200          41,823    41,823
 6/17/2020   APL-APPSTR_016      APL-APPSTORE_01087201 - APL-APPSTORE_01156511          69,311    69,311
 6/17/2020   APL-APPSTR_017      APL-APPSTORE_01156512 - APL-APPSTORE_01228564          72,053    72,053
 6/17/2020   APL-APPSTR_018      APL-APPSTORE_01228565 - APL-APPSTORE_01293569          65,005    65,005
 6/17/2020   APL-APPSTR_019      APL-APPSTORE_01293570 - APL-APPSTORE_01361312          67,743    67,743
 6/17/2020   APL-APPSTR_020      APL-APPSTORE_01361313 - APL-APPSTORE_01433088          71,776    71,776
 6/17/2020   APL-APPSTR_021      APL-APPSTORE_01433089 - APL-APPSTORE_01503309          70,221    70,221
 6/17/2020   APL-APPSTR_022      APL-APPSTORE_01503310 - APL-APPSTORE_01573029          69,720    69,720
 6/17/2020   APL-APPSTR_023      APL-APPSTORE_01573030 - APL-APPSTORE_01631381          58,352    58,352
 6/17/2020   APL-APPSTR_024      APL-APPSTORE_01631382 - APL-APPSTORE_01698610          67,229    67,229


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  Date                                                                                  Doc      Page
Produced         Volume                           ProdRange                            Count     Count
 6/17/2020   APL-APPSTR_025      APL-APPSTORE_01698611 - APL-APPSTORE_01768238          69,628    69,628
 6/17/2020   APL-APPSTR_026      APL-APPSTORE_01768239 - APL-APPSTORE_01838579          70,341    70,341
 6/17/2020   APL-APPSTR_027      APL-APPSTORE_01838580 - APL-APPSTORE_01860293          21,714    21,714
 6/17/2020   APL-APPSTR_028      APL-APPSTORE_01860294 - APL-APPSTORE_01860428              10       135
 6/17/2020   APL-APPSTR_029      APL-APPSTORE_01860429 - APL-APPSTORE_02000140          68,518   139,712
 6/17/2020   APL-APPSTR_030      APL-APPSTORE_02000141 - APL-APPSTORE_02156984          69,348   156,844
  7/6/2020   APL-APPSTR_031      APL-APPSTORE_02156985 - APL-APPSTORE_02228732          71,748    71,748
  7/6/2020   APL-APPSTR_032      APL-APPSTORE_02228733 - APL-APPSTORE_02301573          72,841    72,841
  7/6/2020   APL-APPSTR_033      APL-APPSTORE_02301574 - APL-APPSTORE_02372817          71,242    71,244
  7/6/2020   APL-APPSTR_034      APL-APPSTORE_02372818 - APL-APPSTORE_02444144          71,327    71,327
  7/6/2020   APL-APPSTR_035      APL-APPSTORE_02444145 - APL-APPSTORE_02516135          71,991    71,991
  7/6/2020   APL-APPSTR_036      APL-APPSTORE_02516136 - APL-APPSTORE_02587454          71,319    71,319
  7/6/2020   APL-APPSTR_037      APL-APPSTORE_02587455 - APL-APPSTORE_02659508          72,054    72,054
  7/6/2020   APL-APPSTR_038      APL-APPSTORE_02659509 - APL-APPSTORE_02732071          72,563    72,563
  7/6/2020   APL-APPSTR_039      APL-APPSTORE_02732072 - APL-APPSTORE_02739428           7,357     7,357
  7/6/2020   APL-APPSTR_040      APL-APPSTORE_02739429 - APL-APPSTORE_02812390          36,712    72,962
  7/6/2020   APL-APPSTR_041      APL-APPSTORE_02812391 - APL-APPSTORE_02943699          55,374   131,309
  7/6/2020   APL-APPSTR_042      APL-APPSTORE_02943700 - APL-APPSTORE_03087410          57,374   143,711
  7/6/2020   APL-APPSTR_043      APL-APPSTORE_03087411 - APL-APPSTORE_03248463          71,436   161,053
  7/6/2020   APL-APPSTR_044      APL-APPSTORE_03248464 - APL-APPSTORE_03490759          73,556   242,296
  7/6/2020   APL-APPSTR_045      APL-APPSTORE_03490760 - APL-APPSTORE_03777539          69,189   286,780
  7/6/2020   APL-APPSTR_046      APL-APPSTORE_03777540 - APL-APPSTORE_04070111          68,077   292,572
  7/6/2020   APL-APPSTR_047      APL-APPSTORE_04070112 - APL-APPSTORE_04438112          64,488   368,001
  7/6/2020   APL-APPSTR_048      APL-APPSTORE_04438113 - APL-APPSTORE_04670031          57,648   231,919
 7/17/2020   APL-APPSTR_049      APL-APPSTORE_04670032 - APL-APPSTORE_05290314          72,717   620,283
 7/17/2020   APL-APPSTR_050      APL-APPSTORE_05290315 - APL-APPSTORE_05440137          74,017   149,823
 7/17/2020   APL-APPSTR_051      APL-APPSTORE_05440138 - APL-APPSTORE_05565548          62,596   125,411


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  Date                                                                                    Doc        Page
Produced         Volume                           ProdRange                             Count       Count
 7/17/2020   APL-APPSTR_052     APL-APPSTORE_05565549 - APL-APPSTORE_05635478             36,472      69,930
 7/17/2020   APL-APPSTR_053     APL-APPSTORE_05635479 - APL-APPSTORE_05733241             58,761      97,763
 7/17/2020   APL-APPSTR_054     APL-APPSTORE_05733242 - APL-APPSTORE_05883204             56,532     149,963
 7/17/2020   APL-APPSTR_055     APL-APPSTORE_05883205 - APL-APPSTORE_05987618             44,315     104,414
 7/27/2020   APL-APPSTR_056     APL-APPSTORE_05987619 - APL-APPSTORE_06059024             29,140      71,406
 7/27/2020   APL-APPSTR_057     APL-APPSTORE_06059025 - APL-APPSTORE_06220060             70,647     161,036
 7/27/2020   APL-APPSTR_058     APL-APPSTORE_06220061 - APL-APPSTORE_06379029             70,918     158,969
 7/27/2020   APL-APPSTR_059     APL-APPSTORE_06379030 - APL-APPSTORE_06556090             49,947     177,061
 7/27/2020   APL-APPSTR_060     APL-APPSTORE_06556091 - APL-APPSTORE_06581314             24,980      25,224
 7/31/2020   APL-APPSTR_061     APL-APPSTORE_06581315 - APL-APPSTORE_06722959             38,932     141,645
 7/31/2020   APL-APPSTR_062     APL-APPSTORE_06722960 - APL-APPSTORE_06928904             57,646     205,945
 7/31/2020   APL-APPSTR_063     APL-APPSTORE_06928905 - APL-APPSTORE_07092921             23,921     164,017
 7/31/2020   APL-APPSTR_064     APL-APPSTORE_07092922 - APL-APPSTORE_07181345              4,886      88,424
                     TOTALS AT SUBSTANTIAL COMPLETION                                  3,585,471   7,181,345
                                       Clean-up Productions
 9/20/2020   APL-APPSTR_065     APL-APPSTORE_07181346 - APL-APPSTORE_08819432             42,722   1,638,087
 9/20/2020   APL-APPSTR_066     APL-APPSTORE_08819433 - APL-APPSTORE_08847740              7,540      28,308
 9/20/2020   APL-APPSTR_067     APL-APPSTORE_08847741 - APL-APPSTORE_08933204             23,556      85,464
 10/9/2020   APL-APPSTR_068     APL-APPSTORE_08933205 - APL-APPSTORE_09100216             33,967     167,012
                    TOTALS POST-SUBSTANTIAL COMPLETION                                   107,785   1,918,871
                               GRAND TOTALS                                            3,693,256   9,100,216




                                                  3
